SITE MAP
                                                                                                 DATE: 12/7/2016




                                                                                             DRILL
                                                                                              PAD




                                                                          CANNONBALL
                                              PETA CREEK
                                           NTA                              RANCH
                                         CA




                                                       TURTLE
                                                                 TURTLE
                                                       ISLAND
           BACKWATER                                              HILL
             BRIDGE




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                           SAKOWIN




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                               CAMP      DEF000001
